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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

ARDELYX, INC.,
400 Fifth Avenue, Suite 210
Waltham, MA 02451

AMERICAN ASSOCIATION OF KIDNEY
PATIENTS,
14440 Bruce B. Downs Blvd.
Tampa, FL 33613

NATIONAL MINORITY QUALITY FORUM,
1201 15th Street NW #340
Washington, DC 20005

              Plaintiffs,
     v.

XAVIER BECERRA,
Secretary of Health and Human Services
200 Independence Avenue, SW
                                             Case No. 1:24-cv-02095-BAH
Washington, DC 20201

U.S. DEPARTMENT OF HEALTH AND
HUMAN SERVICES,
200 Independence Avenue, SW
Washington, DC 20201

CHIQUITA BROOKS-LASURE, AND
Administrator of Centers for Medicare and
Medicaid Services
7500 Security Boulevard
Baltimore, MD 21244

CENTERS FOR MEDICARE AND
MEDICAID SERVICES,
7500 Security Boulevard
Baltimore, MD 21244,

              Defendants.


      PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
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                                        INTRODUCTION

       Plaintiffs Ardelyx, Inc., American Association of Kidney Patients, and National Minority

Quality Forum (collectively, “Plaintiffs”) respectfully oppose Defendants’ Motion to Dismiss.

Contrary to Defendants’ contentions, this Court has jurisdiction to review Plaintiffs’ claims.

       Because of the demonstrable patient need for life-saving treatment and high cost of

treatment, Congress over 50 years ago extended Medicare coverage to patients with End Stage

Renal Disease (“ESRD”), regardless of their age. In 2008, Congress passed the Medicare

Improvements for Patients and Providers Act (“MIPPA”), which created a bundled payment

system for “renal dialysis services” under which a single payment under Medicare Part B is made

to dialysis facilities for certain items, drugs, and tests in lieu of any other separate payment. See

42 U.S.C. § 1395rr(b)(14)(A)-(B).

       The ESRD Prospective Payment System (“PPS”) bundle was intended to incentivize

dialysis facilities to more efficiently deliver maintenance dialysis. Consistent with that goal,

Congress defined “renal dialysis services” to reach four enumerated categories of services

administered by dialysis facilities in the course of providing dialysis to ESRD patients. 42 U.S.C.

§ 1395rr(b)(14)(B). Rather than implement that statutory directive, however, the Center for

Medicare Services (“CMS”) is seeking to expand the definition of “renal dialysis services” to

encompass categories of drugs that are not administered during dialysis, let alone by dialysis

providers, and which fall outside the definition of “renal dialysis services” enacted by Congress.

As a wide cross-section of the kidney-care community, including physicians, nurses, patients,

dialysis providers, and drug manufacturers have repeatedly warned, CMS’s plan to add such drugs

to a bundled payment system that already fails to adequately reimburse dialysis providers will
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reduce access to life-saving drugs, harm patients, and stifle innovation—all while imposing added

costs on patients who can ill afford to bear it.

       This action challenges CMS’s promulgation of a regulation that expanded the definition of

“renal dialysis services” to encompass oral-only drugs, as well as CMS’s recent determination that

Ardelyx’s novel oral-only phosphate-lowering therapy (“PLT”), XPHOZAH, is a “renal dialysis

service.” See Dkt. 1 ¶¶ 195-215 and Prayer for Relief. As Plaintiffs explained in their Complaint

and motion for a preliminary injunction or expedited summary judgment, CMS’s actions are

incompatible with Congress’s statute and CMS’s own regulations. And Plaintiffs and ESRD

patients will be meaningfully harmed in the short and long term absent action from this Court.

       In moving to dismiss Plaintiffs’ complaint, Defendants notably do not dispute Plaintiffs’

claims on the merits. Instead, Defendants move to dismiss the complaint solely on the basis of 42

U.S.C. § 1395rr(b)(14)(G), which provides that “[t]here shall be no administrative or judicial

review . . . of . . . the identification of renal dialysis services included in the bundled payment.”

Id. § 1395rr(b)(14)(G). Asserting that “CMS recently identified the drug XPHOZAH as a ‘renal

dialysis service’ that would be ‘included in the ESRD [Prospective Payment System] bundled

payment’ effective January 1, 2025,” Mot. 2, Defendants argue that § 1395rr(b)(14)(G) strips this

Court of jurisdiction to consider Plaintiffs’ complaint.

       Defendants are wrong. To begin with, § 1395rr(b)(14)(G) is only relevant to CMS’s

identification of a particular drug or other service as a “renal dialysis service”—it does not speak

to or preclude review of Plaintiffs’ challenge to CMS’s promulgation of a regulation that expanded

the definition of “renal dialysis services” to include categories of drugs that Congress elected to

exclude. Thus, § 1395rr(b)(14)(G) does not preclude judicial review of Plaintiffs’ challenge to




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CMS’s adoption of a regulation redefining “renal dialysis services” to include oral-only drugs. See

Dkt. 1 ¶¶ 212-15 (setting forth challenge to 42 C.F.R. § 413.171).

       Defendants do not seriously attempt to show that § 1395rr(b)(14)(G) reaches that sort of

challenge. For good reason. Because there is a “strong presumption that Congress intends judicial

review of administrative action,” the Government bears the burden of proving by “clear and

convincing evidence that Congress intended to preclude the suit.” Amgen Inc. v. Smith, 357 F.3d

103, 111 (D.C. Cir. 2004) (citation and internal quotation marks omitted); see Am. Hosp. Ass’n v.

Azar, 967 F.3d 818, 825 (D.C. Cir. 2020) (same). “The presumption is particularly strong that

Congress intends judicial review of agency action taken in excess of delegated authority.” Amgen,

357 F.3d at 111. Courts generally therefore will permit review unless the wording of a preclusion

clause is “‘absolute’” with respect to the claim at issue. Id. (citation omitted).

       Defendants cannot satisfy that heavy burden. Section 1395rr(b)(14)(G) speaks to the

identification of particular drugs or services as “renal dialysis services.” Even Defendants claim

that the agency’s recent “‘identification’ of XPHOZAH as a ‘renal dialysis service included in the

bundled payment’” is “exactly the type of action . . . that Congress precluded from judicial review.”

Mot. 12. Plaintiffs’ challenge to that decision, however, is distinct from Plaintiffs’ challenge to

CMS’s prior enactment of a regulation purporting to define “renal dialysis services” to encompass

oral-only drugs. Section 1395rr(b)(14)(G) does not preclude such a challenge.

       In any event, the D.C. Circuit has made clear that preclusion provisions like

§ 1395rr(b)(14)(G) will “prevent review only of those [determinations] that the Medicare Act

authorizes the Secretary to make; in other words, the preclusion on review of [determinations]

extends no further than the Secretary’s statutory authority to make them.” Amgen, 357 F.3d at

112. Where, as here, “the determination of whether the court has jurisdiction is intertwined with




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the question of whether the agency has authority for the challenged action,” the challenged agency

action is not the sort “shielded from review.” Id. For that reason too, this Court can readily review

Plaintiffs’ claim that Defendants lack statutory authority to extend the definition of “renal dialysis

services” to include oral-only drugs, including XPHOZAH.

       For related reasons, Section 1395rr(b)(14)(G) also does not preclude review of Plaintiffs’

remaining challenges. First, Congress expressly limited the definition of “renal dialysis services”

to drugs “that are furnished to individuals for the treatment of end stage renal disease.” 42 U.S.C.

§ 1395rr(b)(14)(B)(iii)-(iv) (emphasis added). As Defendants admit, however, XPHOZAH “treats

hyperphosphatemia.” Opp. 2 (emphasis added).          In designating XPHOZAH as a renal dialysis

service anyways, Defendants found not that XPHOZAH treats ESRD, but rather “is furnished to

individuals to treat a condition associated with ESRD.” Dkt. 1-1 (emphasis added). Plaintiffs

argue that the agency lacked statutory authority to expand the definition of “renal dialysis services”

in that manner. Dkt. 1 ¶¶ 199-200. As a result, § 1395rr(b)(14)(G)’s prohibition on review is

again inapplicable. See Amgen, 357 F.3d at 112 (“[T]he preclusion on review of [determinations]

extends no further than the Secretary’s statutory authority to make them.”).

       Finally, Plaintiffs challenge Defendants’ determination that XPHOZAH is “a renal dialysis

service under 42 C.F.R. § 413.171, because it is . . . essential to the delivery of maintenance

dialysis.” Section 1395rr(b)(14)(G) only limits review of agency determinations that particular

renal dialysis services meet Congress’s statutory definition of a “renal dialysis service.” That is

not implicated by Plaintiffs’ challenge to CMS’s failure to properly apply 42 C.F.R. § 413.171(5),

a regulatory innovation that post-dates the statute, and which exempts services from the bundled

payment system when they are not “essential to the delivery of maintenance dialysis.”




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       Because Defendants do not meet their burden to show this Court lacks jurisdiction to

review Plaintiffs’ particular challenges, Defendants’ Motion to Dismiss should be denied.

                                         BACKGROUND
       A.      End Stage Renal Disease

       Approximately 550,000 people in the United States suffer from ESRD, a life-threatening

condition in which the kidneys can no longer function on their own. Complaint ¶ 55, Dkt. 1.

ESRD is the final, permanent stage of chronic kidney disease, a condition in which the kidneys

become progressively damaged over time and eventually lose the ability to function. Id.

       Unless a patient suffering from ESRD is able to obtain a kidney transplant, he or she must

undergo routine dialysis treatment in order to survive. Dkt. 1 ¶ 57. ESRD patients therefore

typically undergo dialysis—in which a machine manually filters waste and excess fluid in place of

the kidneys—3 times a week for 3 to 5 hours each session, at a dialysis center which specializes

in this treatment. Id. ¶ 58. Even with dialysis, ESRD patients experience frighteningly high

mortality rates, with 20-50% of ESRD patients on dialysis dying within 24 months of diagnosis,

while the five-year survival rate for dialysis patients is under 50%. Id. ¶ 59.

       ESRD offers a stark example of the racial, ethnic, and socioeconomic disparities in

American healthcare. Id. ¶ 56. African Americans are almost 4 times more likely, and Hispanics

or Latinos 1.3 times more likely, to have ESRD than white Americans. Id. While African

Americans make up 13.5% of the population, they represent more than 35% of dialysis patients,

and are more likely to die from ESRD than white patients. Id. Low income and lack of health

insurance are also risk factors for developing ESRD because ESRD is often caused by other

underlying health conditions, like high blood pressure and diabetes, that go un- or under-treated.

       B.      Medicare Coverage For End Stage Renal Disease

       The Social Security Amendments of 1972 first extended Medicare coverage to individuals


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suffering from kidney disease who required dialysis or a kidney transplant, without regard to their

age or disability status. See An Act to Amend the Social Security Act, and for Other Purposes,

Pub. L. No. 92-603, 86 Stat. 1329 (1972); 42 U.S.C. § 426-1(a).

        Beginning in the 1980s, Medicare began paying for dialysis services using the “composite

rate” system, a blended prospective payment and fee-for-service system. Omnibus Budget

Reconciliation Act of 1981, Pub. L. No. 97-35, § 2145, 95 Stat. 357, 799-800 (1981). Under the

composite rate system, dialysis facilities received a single, prospectively determined payment

amount per treatment to cover costs for a defined set of regularly provided tests and supplies, as

well as a narrow set of injectable drugs associated with dialysis services. See id.

        In addition to the composite rate, dialysis facilities were separately reimbursed for each use

of injectable ESRD drugs with payments under Medicare Part B, which generally covers drugs

that patients would not administer themselves.1 Orally administered drugs, by contrast, are

covered separately under Medicare Part D, which offers prescription drug coverage for self-

administered drugs. 75 Fed. Reg. 49,030, 49,040 (Aug. 12, 2010).

        C.      The Creation Of The Modern ESRD “Bundle”

        In 2008, Congress enacted MIPPA, codified today at 42 U.S.C. § 1395rr. MIPPA directs

CMS to implement a bundled payment system for “renal dialysis services” under which a single

payment is made to dialysis facilities for certain items, drugs, and tests, in lieu of any other separate

payment for these materials. 42 U.S.C. § 1395rr(b)(14)(A)-(B). Under the ESRD PPS, dialysis

facilities receive—in general—the same amount per dialysis treatment per patient, regardless of

the specific individual costs incurred to treat that patient. See id.



1
 See U.S. Gov’t Accountability Off., (GAO-11-36), End-Stage Renal Disease: CMS Should
Assess Adequacy of Payment When Certain Oral Drugs are Included and Ensure Availability of
Quality Monitoring Data 2 n.6 (2011), https://www.gao.gov/assets/gao-11-365.pdf.


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       Congress expected that the bundled payment system would incentivize dialysis facilities to

operate more efficiently because the facilities would “retain the difference if Medicare’s payment

exceed[ed] the costs they incur[red] to provide the services.”2 In practice, however, CMS has

come to set the bundled payment rate at an amount that barely covers a dialysis facility’s cost of

care. Dkt. 1 ¶ 9. In 2023, the Medicare Payment Advisory Commission, a nonpartisan legislative-

branch agency, calculated that dialysis facilities were experiencing negative margins when treating

Medicare patients due to the bundled payment system and rising costs. Id. ¶ 172.3

       Members of Congress have also criticized CMS for failing to “sufficiently reimburse for

new, innovative products.” Id. ¶ 10.4 Following a short period in which CMS may temporarily

provide additional reimbursement to dialysis facilities in relation to their use of new drugs, CMS

withdraws that reimbursement in favor of small adjustments to the bundled rate. Id. ¶¶ 9-10. As

a consequence, dialysis facilities are disincentivized from adopting treatment approaches—and

novel drugs in particular—that would increase their cost of treatment beyond the bundled payment

amount. As Congressional leaders have recognized, this financial challenge causes dialysis

facilities to “hesitate to adopt new products” and novel drugs, diminishing patients’ access to

needed medical care. Id.




2
  See U.S. Gov’t Accountability Off., (GAO-07-77), End-Stage Renal Disease: Bundling
Medicare’s Payment for Drugs with Payment for all ESRD Services Would Promote Efficiency
and Clinical Flexibility 22 (2006), https://www.gao.gov/assets/gao-07-77.pdf [hereinafter “GAO
2006 Report”].
3
  See also Medicare Payment Advisory Comm’n, 2023 Report to the Congress – Medicare
Payment       Policy,       at     194       (Mar.    2023),       https://www.medpac.gov/wp-
content/uploads/2023/03/Mar23_MedPAC_Report_To_Congress_v2_SEC.pdf.
4
 See also Congressional Kidney and Health Care Innovation Caucuses, Letter to Chiquita Brooks-
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       D.      CMS Acts To Add Oral-Only Drugs Into The ESRD PPS Bundle

       The ESRD PPS bundled “single payment is made . . . for renal dialysis services (as defined

in subparagraph (B)).” 42 U.S.C. § 1395rr(b)(14)(A).

       Congress defined the four categories of “renal dialysis services” for which dialysis

providers receive a bundled payment as follows:

       (B) For purposes of this paragraph, the term “renal dialysis services” includes—

               (i)    items and services included in the composite rate for renal
                      dialysis services as of December 31, 2010;

               (ii)   erythropoiesis stimulating agents and any oral form of such
                      agents that are furnished to individuals for the treatment of end
                      stage renal disease;

               (iii) other drugs and biologicals that are furnished to individuals
                     for the treatment of end stage renal disease and for which
                     payment was (before the application of this paragraph) made
                     separately under this subchapter, and any oral equivalent form
                     of such drug or biological; and

               (iv) diagnostic laboratory tests and other items and services not
                    described in clause (i) that are furnished to individuals for the
                    treatment of end stage renal disease.

42 U.S.C. § 1395rr(b)(14)(B).

       Under the statute’s express terms, orally administered drugs qualify as “renal dialysis

services” only when they are (1) oral forms of erythropoiesis stimulating agents (“ESAs,” which

stimulate production of red blood cells) under clause (ii); or (2) “oral equivalent forms” of “other

drugs and biologicals that are furnished to individuals for the treatment of [ESRD]” under clause

(iii). That accords with the fact that dialysis facilities have historically administered certain drugs

through injections (or oral equivalents of injectable drugs), but have not historically administered

“oral-only” drugs to ESRD patients, let alone as part of dialysis. Dkt. 1 ¶¶ 13-14, 129. As a result,

there would have been little need to account for the cost of such drugs in the single bundled


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payment made to dialysis facilities for each dialysis treatment. See id. ¶ 129. And unless such

oral-only drugs were equivalent to injectable drugs that would otherwise be administered by

dialysis facilities, inclusion of such drugs within the bundled payment would not promote the

efficient use of resources by dialysis facilities when providing renal dialysis services. See id.

       In 2009, CMS issued a proposed rule to implement the bundled payment system created

by MIPPA beginning in 2011. 74 Fed. Reg. 49,922, 49,922 (Sept. 29, 2009). Despite the fact that

Congress only directed that a subset of orally administered drugs be included within the bundle,

CMS proposed to interpret 42 U.S.C. § 1395rr(b)(14)(B) so as not to limit the oral drugs qualifying

as “renal dialysis services” to the “oral form” of ESAs or the “oral equivalent form” of “other

drugs and biologicals that are furnished to individuals for the treatment of end stage renal disease.”

74 Fed. Reg. at 49,928. Instead, CMS proposed to include in the bundle all drugs and biologicals

furnished to individuals for ESRD treatment, including those with only an oral form. Id.

       That is exactly what CMS did. 42 U.S.C. § 1395rr(b)(14)(B)(iii) defines “renal dialysis

services” to include “other drugs and biologicals . . . for the treatment of end stage renal disease

. . . and any oral equivalent form of such drug or biological.” But CMS altered the statute’s text

in 42 C.F.R. § 413.171, effectively removing the struck through language below from the statute

and replacing it with the bolded regulatory text.

               (3) Other drugs and biologicals that are furnished to individuals for
               the treatment of ESRD and for which payment was (prior to January
               1, 2011) made separately under Title XVIII of the Act (and any oral
               equivalent form of such drug or biological including drugs and
               biologicals with only an oral form) . . .

Compare 42 U.S.C. § 1395rr(b)(14)(B)(iii) with 42 C.F.R. § 413.171(3). Whereas the statute

broadly excludes oral-only drugs from the bundle, the regulation modifies the text to include them.

Id.



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          Most comments on the proposed regulation opposed the inclusion of oral-only drugs in the

bundle, and “many” focused on CMS’s improper expansion of the statutory definition to include

these oral-only drugs. See 75 Fed. Reg. at 49,038 (criticizing CMS reading as “a misreading of

statutory intent and violat[ing] principles of statutory construction”). In questioning CMS’s

proposal, various commentors also noted that the statute “focuses on payments to ESRD facilities,”

and argued “that the four categories of renal dialysis services specified in [§ 1395rr(b)(14)(B)]

only pertain to services furnished for which payment is made to ESRD facilities.” Id.

       Many commenters expressed concern that CMS’s proposed regulation would undermine

the statute’s purpose and harm patients, explaining that because dialysis providers “would be liable

for the difference if costs exceeded Medicare payments,” adding oral-only drugs into the bundle

would result in “unintended clinical consequences for patients as ESRD facilities seek to maximize

profits by resorting to cheaper but less effective alternatives” to oral-only drugs. Id. at 49,032,

49,040.      CMS admitted that including oral-only drugs in the bundle could result in

“underutilization” of needed drugs. Id. at 49,041. CMS nonetheless implemented the ESRD PPS

in the 2011 ESRD PPS final rule (75 Fed. Reg. 49,030) and adopted its own regulatory definition

of “renal dialysis services” to broadly encompass oral-only drugs at 42 C.F.R. § 413.171.

       E.        Congress Repeatedly Prevents CMS From Implementing The Inclusion Of
                 Oral-Only Drugs Into The ESRD PPS Bundle

       Congress has repeatedly delayed CMS’s plan to place oral-only drugs into the bundled

payment system. In 2012, Congress prevented CMS from including oral-only drugs in the ESRD

PPS bundle until January 1, 2016. See American Taxpayer Relief Act of 2012, Pub. L. No. 112-

240, § 632(b), 126 Stat. 2313 (2012). In 2014, Congress again delayed the implementation of the

oral-only drug inclusion in the Protecting Access to Medicare Act of 2014 (PAMA), preventing

CMS from including oral-only drugs until 2024. Pub. L. No. 113-93, § 217(a)(1), 128 Stat. 1040,



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1061 (2014). Later that same year, Congress delayed the implementation until 2025. Achieving

a Better Life Experience Act of 2014, Pub. L. No. 113-295, § 401, 128 Stat. 4010, 4056 (2014).

       In response to this legislation, CMS updated its regulations to state that “[e]ffective January

1, 2025, payment to an ESRD facility for renal dialysis service drugs and biologicals with only an

oral form furnished to ESRD patients is incorporated within the prospective payment system rates

established by CMS . . . and separate payment will no longer be provided.”                42 C.F.R.

§ 413.174(f)(6); see also 80 Fed. Reg. 68,968, 69,027-28 (Nov. 6, 2015) (finalizing this language).

       Therefore, despite CMS’s initial 2011 rulemaking and promulgation of 42 C.F.R.

§ 413.171, stakeholders have not had to contend with the potential impact of CMS’s regulation

until very recently, as the 2025 deadline approached and CMS began to take action to apply its

regulations and place oral-only drugs into the bundled payment system, as detailed below.

       F.      Ardelyx’s XPHOZAH

       Many ESRD patients suffer from a variety of comorbidities, including hypertension,

diabetes, cardiovascular disease (“CVD”), and hyperphosphatemia—the condition of having too

much phosphate in the body. See Dkt. 1 ¶ 75, 150.         Hyperphosphatemia is associated with a

higher risk of cardiovascular mortality, and it can also lead to the progression of bone disorders.

Id. ¶ 75. Managing phosphate levels is therefore important for patients with hyperphosphatemia.

       Approximately 80 percent of ESRD patients on dialysis have hyperphosphatemia. See id.

¶ 150; Williams Decl. ¶ 18, Dkt. 14-3.      A substantial number of ESRD patients do not have

hyperphosphatemia, however. Id. And some patients have hyperphosphatemia, but not ESRD.

See Dkt. 1 ¶ 75.

       XPHOZAH is a novel, oral-only drug developed by Ardelyx to treat hyperphosphatemia

through a new mechanism of action in the body. Dkt. 1 ¶¶ 78-80. Nephrologists (kidney doctors)

generally manage hyperphosphatemia by prescribing a range of phosphate lowering therapies. As

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first-line therapies, many patients are prescribed phosphate binders, which lower phosphate levels

in the body by binding to excess phosphate molecules in the gastrointestinal tract and preventing

them from reaching the bloodstream. Id. ¶ 22. But not all patients have an adequate response to

phosphate binders alone, meaning their blood phosphate levels are still too high even with

treatment. Id. ¶ 24. Indeed, approximately 70% of ESRD patients are unable to maintain target

phosphate levels despite treatment with phosphate binders.5

       In 2023, FDA approved XPHOZAH. Id. ¶ 27. XPHOZAH is “indicated to reduce serum

phosphorus in adults with chronic kidney disease (CKD) on dialysis as add-on therapy in patients

who have an inadequate response to phosphate binders or who are intolerant of any dose of

phosphate binder therapy.” Id. ¶ 27.6 Unlike phosphate binders, which bind to phosphate,

XPHOZAH blocks phosphate absorption at the primary cellular pathway. By providing the first

new mechanism of action to reduce phosphate in decades, XPHOZAH can help patients who are

inadequately managed by phosphate binders.

       XPHOZAH is not distributed or administered by dialysis facilities, nor is it taken during

dialysis. Id. ¶ 29. While dialysis is typically performed three times a week, XPHOZAH is taken

twice daily, just prior to the first and last meals of the day. Id. ¶¶ 28, 30-31. XPHOZAH is not

administered as part of the delivery of maintenance dialysis. Id. ¶¶ 29-31. In fact, XPHOZAH’s

label makes clear patients should not take XPHOZAH right before or during dialysis. See id. ¶ 31.

(Indeed, taking XPHOZAH right before or during dialysis can risk the patient’s health.) See id.



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 Id. ¶ 25; Pablo E. Pergola, Phosphate Frustration: Treatment Options to Complement Current
Therapies, Int’l J. Nephrology (Aug. 22, 2022),
www.ncbi.nlm.nih.gov/pmc/articles/PMC9424003/.
6
 See also U.S. Food & Drug Admin., XPHOZAH Label 2 (Oct. 2023),
https://www.accessdata.fda.gov/drugsatfda_docs/label/2023/213931s000lbl.pdf; Ardelyx,
XPHOZAH, http://xphozah-hcp.com/.

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¶¶ 31, 164; Dkt. 14-4 at 2 (side effects include dehydration, which is dangerous during dialysis).

XPHOZAH is covered under Medicare Part D, like other self-administered oral drugs. Dkt. 1 ¶ 86.

       G.      CMS Adds Oral-Only Drugs To The ESRD PPS Bundle, Including
               XPHOZAH

       On April 29, 2024, CMS issued guidance stating that “effective January 1, 2025, payment

to an ESRD facility for renal dialysis service drugs and biologicals with only an oral form furnished

to ESRD patients is incorporated within the prospective payment system rates established by CMS

in § 413.230 and separate payment will no longer be provided.” Dkt. 14-10 at 1.

       Additionally, on May 13, 2024, CMS sent a letter to Ardelyx stating that “CMS has

identified XPHOZAH to be a renal dialysis service under 42 CFR 413.171, because it is furnished

to individuals to treat a condition associated with ESRD and is essential to the delivery of

maintenance dialysis.” Dkt. 1-1 at 1 (XPHOZAH Decision).

       In a Notice issued July 5, 2024, CMS reiterated that it would begin to apply its regulations

to oral-only drugs effective January 1, 2025. 89 Fed. Reg. 55,760, 55,796-97 (July 5, 2024).

       H.      This Litigation

       On July 17, 2024, Plaintiffs filed their Complaint, asserting that CMS’s regulation, which

purports to dictate that oral-only drugs are to be included in the ESRD PPS bundle, as well as

CMS’s XPHOZAH Decision itself, violate the statute and are unlawful. See generally Dkt. 1.

       Starting in July, Plaintiffs reached out to the government via email in an attempt to

negotiate an organized schedule for expedited summary judgment that would dispense with the

need for preliminary injunction proceedings.       Instead, on September 17, 2024, Defendants

unexpectedly filed their Motion To Dismiss, alleging that this Court lacks jurisdiction under 42

U.S.C. § 1395rr(b)(14)(G). Dkt. 11. Two days later, on September 19, Plaintiffs filed their

anticipated motion for a preliminary injunction or expedited summary judgment. Dkt. 14.



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                                          ARGUMENT

       Absent an applicable preclusion provision, the Court possesses subject-matter jurisdiction

pursuant to 28 U.S.C. § 1331, which provides jurisdiction over federal questions arising under the

Administrative Procedure Act, 5 U.S.C. § 701 et seq. While Defendants may seek to rebut the

existence of jurisdiction by identifying a statutory provision precluding judicial review, there is a

“strong presumption that Congress intends judicial review of administrative action.” Amgen, 357

F.3d at 111. And that presumption is “particularly strong” here, as “Congress rarely intends to

foreclose review of action exceeding agency authority.” Id. at 111-12. The burden therefore falls

to the government to overcome that presumption of reviewability by advancing “clear and

convincing evidence that Congress intended to preclude the suit.” Amgen, 357 F.3d at 111; see

also Am. Hosp. Ass’n, 967 F.3d at 825 (“[I]t is the government’s burden” to show jurisdiction has

been stripped by “clear and convincing evidence.”). The balance weighs in favor of judicial review

where “the wording of a preclusion clause is less than absolute” in clearly barring jurisdiction over

a particular claim. Amgen, 357 F.3d at 112.

       Defendants cannot meet their heavy burden to show that this Court lacks jurisdiction here.

42 U.S.C. § 1395rr(b)(14)(G) limits judicial review of the agency’s identification of a particular

renal dialysis service—e.g., a specific item, service, or drug—that falls within the statutory

definition of “renal dialysis services.” It does not preclude a challenge—as Plaintiffs make here—

to CMS’s adoption of a regulation that expands the definition of “renal dialysis services” beyond

that which Congress authorized. Defendants do not seriously argue otherwise.

       As the D.C. Circuit has made clear, moreover, provisions like § 1395rr(b)(14)(G) will

“prevent review only of those [determinations] that the Medicare Act authorizes the Secretary to

make; in other words, the preclusion on review of [determinations] extends no further than the




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Secretary’s statutory authority to make them.” Amgen, 357 F.3d at 112. Because Defendants lack

statutory authority to re-write the statutory definition of “renal dialysis services” to create a

regulatory definition broader than the one Congress enacted, and then to apply it to regulated

parties, § 1395rr(b)(14)(G) does not prevent review of Plaintiffs’ challenge to Defendants’

unlawful regulation or Defendants’ proposed application thereof.

       Finally, Plaintiffs’ XPHOZAH-specific arguments are likewise not precluded. Plaintiffs’

challenge does not involve a challenge to the agency’s identification of a “renal dialysis service”

within the terms of the statutory definition set forth by Congress. As a result, Plaintiffs’ challenges

are not the sort that § 1395rr(b)(14)(G) is designed to shield from review.

       For all of these reasons, § 1395rr(b)(14)(G) does not preclude judicial review here.

I.     THIS COURT CAN REVIEW PLAINTIFFS’ CHALLENGE TO A CMS
       REGULATION PURPORTING TO REDEFINE “RENAL DIALYSIS SERVICES”

       Relying on 42 U.S.C. § 1395rr(b)(14)(G), which precludes judicial review of “the

identification of renal dialysis services included in the bundled payment,” Defendants principally

argue that this Court lacks jurisdiction to consider “CMS[’s] recent[] identifi[cation of] the drug

XPHOZAH as a ‘renal dialysis service.’” Mot. to Dismiss at 2, Dkt. 11-1; see also 10, 12, 14. But

Plaintiffs also challenge Defendants’ promulgation of a regulation expanding the definition of

“renal dialysis services” beyond that which Congress authorized.

       Defendants do not seriously argue that § 1395rr(b)(14)(G) precludes a challenge to such a

regulation. Nor could they. Section 1395rr(b)(14)(G) speaks to the agency’s identification of a

particular item or drug as a “renal dialysis service” within the definition set forth by 42 U.S.C.

§ 1395rr(b)(14)(B). It does not preclude challenges to regulations preceding that step. Under D.C.

Circuit precedent, moreover, § 1395rr(b)(14)(G)’s “preclusion on review of [determinations]

extends no further than the Secretary’s statutory authority to make them.” Amgen, 357 F.3d at


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112.   Because Plaintiffs allege that Defendants lacked such statutory authority here, the

jurisdictional and merits questions effectively merge. For both reasons, Defendants fail to meet

their heavy burden to show that this Court lacks jurisdiction to review Plaintiffs’ challenge to

CMS’s attempt to redefine “renal dialysis services” to include oral-only drugs.

        A.     Section 1395rr(b)(14)(G) Does Not Limit Judicial Review Of CMS Regulations
               Redefining The Scope Of “Renal Dialysis Services”

        Defendants’ cited jurisdiction-stripping provision addresses only the “identification of

renal dialysis services,” i.e., the agency’s identification of a specific drug or treatment as falling

within the statutory definition of “renal dialysis services.” 42 U.S.C. § 1395rr(b)(14)(G). It does

not preclude Plaintiffs’ challenge to CMS’s promulgation of a regulation expanding the definition

of “renal dialysis services” beyond the four defined categories that Congress enacted. See id.

        To determine whether judicial review is precluded, the Court must first decide whether,

under its plain text, “the provision of the statute that limits judicial review is . . . applicable.”

COMSAT Corp. v. FCC, 114 F.3d 223, 226 (D.C. Cir. 1997). With respect to Plaintiffs’ challenge

to 42 C.F.R. § 413.171(3), it is not. Defendants strive to cast Plaintiffs’ claims as limited to

challenging “CMS’s recent determination that XPHOZAH is a renal dialysis service.” Dkt. 11-1

at 11-15. But Plaintiffs’ claims sweep more broadly—also challenging the regulation that

expanded the definition of “renal dialysis services” to include oral-only drugs, notwithstanding

Congress’s exclusion of that category. See Dkt. 1 ¶ 215 (challenging CMS’s “definition of ‘Renal

dialysis services’ at 42 CFR 413.171(3)” as in “excess of statutory jurisdiction and authority”);

id.at 50 (seeking an order “vacating and setting aside” 42 C.F.R. § 413.171 and “enjoining” its

application to oral-only drugs). Plaintiffs argue that the regulation is both (i) facially invalid, and

(ii) cannot be lawfully applied to regulated parties. Id.; Koretoff v. Vilsack, 707 F.3d 394, 399




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(D.C. Cir. 2013) (distinguishing facial and as-applied challenges to regulations, both of which are

at issue here).

        CMS’s issuance of a regulation redlining Congress’s four, prescribed categories of “renal

dialysis services” might amount to the “interpretation” or “construction” of that phrase, but it does

not amount to the “identification” of renal dialysis services. 42 U.S.C. § 1395rr(b)(14)(G). The

term “identification” instead connotes the classification of a specific object. See Identify, Merriam-

Webster Dictionary (2024) (to “state the identity of . . . something”). To “‘identify an object’ . . .

means ‘to recognize or establish an object as being a particular thing.’” Apple Inc. v. Omni MedSci,

Inc., No. 2023-1034, 2024 WL 3084509, at *5 (Fed. Cir. June 21, 2024). “Identification of renal

dialysis services” thus means identifying a particular drug or treatment as a “renal dialysis service.”

See 42 U.S.C. § 1395rr(b)(14)(G).        Defendants themselves assert that the agency’s recent

“‘identification’ of XPHOZAH as a ‘renal dialysis service’ included in the bundled payment’” is

“exactly the type of action . . . that Congress precluded from judicial review.” Dkt. 11-1 at 12. As

that underscores, Congress limited judicial review of agency decisions identifying particular

services as “renal dialysis services”—not regulations that would expand the definition of “renal

dialysis services” to encompass categories of treatments that Congress excluded. See 42 C.F.R. §

413.171.

        It is one thing to suggest that Congress intended to limit judicial review of challenges to an

agency decision that a particular service falls within one of the enumerated categories of “renal

dialysis services” that Congress itself identified. It is quite another to suggest that Congress

intended to prevent judicial review of an agency’s attempt to substitute its own judgment for

Congress’s with respect to the definition of those categories. Defendants point to nothing in the

language or legislative history of § 1395rr(b)(14)(G) that clearly evinces such an unlikely




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intention—under which courts would be powerless to prevent CMS from rewriting Congress’s

definition of “renal dialysis services” to include “any drug provided to individuals on dialysis,”

whether or not for the treatment of end stage renal disease; or even services entirely unrelated to

renal dialysis like primary care, diabetes management, cardiac checkups, and so on.

       There is no reason to read § 1395rr(b)(14)(G) to countenance such absurd results. Rather,

as this Court has explained, “[p]reclusion statutes should be read narrowly in light of the strong

presumption that ‘Congress intends the executive to obey its statutory commands and, accordingly,

that it expects the courts to grant relief when an executive agency violates such a command.’”

Fresno Cmty. Hosp. & Med. Ctr. v. Azar, 370 F. Supp. 3d 139, 148 (D.D.C. 2019) (quoting Bowen

v. Michigan Academy of Family Physicians, 476 U.S. 667, 681 (1986)). Indeed, any “ambiguity”

in a preclusion provision’s scope is interpreted in favor of review. Amgen, 357 F.3d at 111. As

such, there is no reason to understand § 1395rr(b)(14)(G) to prevent review of Defendants’

promulgation of regulations that exceed their statutory authority.               To the contrary,

§ 1395rr(b)(14)(G) is more naturally read only to limit review of Defendants’ “identification” of

particular drugs or treatments as falling within Congress’s definition of “renal dialysis services”—

a reading that better accords with the “traditional presumption in favor of judicial review of

administrative action.” Am. Hosp. Ass’n v. Becerra, 596 U.S. 724, 734 (2022).

       Notably, Defendants do not seriously contend that a challenge to a regulation rewriting the

definition of “renal dialysis services” would fall within the scope of § 1395rr(b)(14)(G). Instead,

Defendants appear to will that part of Plaintiffs’ case away—repeatedly endeavoring to recast

Plaintiffs’ suit as limited to challenging the identification of a specific drug, XPHOZAH, as a renal

dialysis service. Mot. at 11-15. But as Defendants ultimately recognize, Plaintiffs’ claims also

challenge CMS’s definition of “renal dialysis services” to include oral-only drugs. See Opp. at 13




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(acknowledging Plaintiffs’ challenge to the definition of renal dialysis services at 42 C.F.R.

§ 413.171); see also id. at 15 (recognizing Plaintiffs seek to set aside Defendants’ determinations

that oral-only drugs are “renal dialysis services”).

       Perhaps in an attempt to overcome that problem, Defendants complain that “Plaintiffs

identify no ‘oral-only drug’ other than XPHOZAH that might be included in the bundle, now or in

the future.” Mot. at 15. But that is factually wrong and legally irrelevant. As a factual matter,

Defendants have made clear that other oral-only drugs will be included in the bundle starting

January 1, 2025. See Dkt. 1 ¶¶ 169-194 (discussing CMS’s plan to place all phosphate lowering

therapies, including phosphate binders, into the bundle); see also 89 Fed. Reg. at 55,796-97

(similar). And as a legal matter, Plaintiffs have no obligation to identify other affected drugs in

order to challenge to the validity of an agency regulation that exceeds the agency’s statutory

authority. See, e.g., Santa Barbara Cnty. Air Pollution Control Dist. v. EPA, 31 F.3d 1179, 1180

(D.C. Cir. 1994) (partially vacating air-pollution rule challenged by a single county); Koretoff, 707

F.3d at 399 (explaining individual companies could reassert challenge to rule “if and when the

Secretary applies the rule” to them).

       Courts presume that Congress intended judicial review of agency action in contravention

of statutory authority. Although Congress limited judicial review of Defendants’ “identification”

of “renal dialysis services,” § 1395rr(b)(14)(G), Defendants do not point to “clear and convincing

evidence” that Congress intended to preclude review of agency regulations rewriting Congress’s

definition of “renal dialysis services” to add categories of services that Congress excluded.

Accordingly, Defendants fail to show that this Court lacks jurisdiction to consider Plaintiffs’

challenge to 42 C.F.R. § 413.171.




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       B.      Provisions Like Section 1395rr(b)(14)(G) Are Properly Construed Not To Bar
               Judicial Review Of Actions Beyond The Agency’s Statutory Authority

                1.      Under D.C. Circuit Precedent, § 1395rr(b)(14)(G) Is Properly Construed
                        To Limit Review Only Of Determinations That Defendants Are Statutorily
                        Authorized To Make

       Defendants cannot meet their burden to show this Court lacks jurisdiction over Plaintiffs’

challenge to 42 C.F.R. § 413.171 for an additional reason. “In light of the presumption that

Congress rarely intends to foreclose review of action exceeding agency authority,” the D.C. Circuit

has construed provisions similar to § 1395rr(b)(14)(G) to “prevent review only of those

[determinations] that the Medicare Act authorizes the Secretary to make.” Amgen, 357 F.3d 112.

That accords with the inference that Congress intends a provision limiting judicial review of

enumerated agency actions not to reach determinations that Congress set outside the agency’s

authority in the first place. That line of authority also reinforces that this Court has jurisdiction to

consider Plaintiffs’ challenge to 42 C.F.R. § 413.171 here.

       Plaintiffs argue that CMS exceeded its statutory authority when it redefined “renal dialysis

services” in 42 C.F.R. § 413.171 to broadly include oral-only drugs like XPHOZAH that Congress

excluded. Dkt. 1 ¶¶ 87-145, 195-215. Section 1395rr(b)(14)(G) is properly construed, as in

Amgen, to limit review only when the agency exercises its authority to identify “renal dialysis

services” within the statutory bounds set by Congress. By contrast, the provision would not apply

to the extent that CMS exceeds its authority and thus is not genuinely engaged in the identification

of “renal dialysis services” as defined by Congress, but a different exercise entirely.

       An extreme example helps illustrate the point. Suppose that CMS decided to redefine

“renal dialysis services” to mean all drugs provided to ESRD patients, including drugs that are not

furnished to individuals for the treatment of end stage renal disease, but instead furnished to treat

conditions like asthma, HIV, or arthritis. Such a regulatory definition of “renal dialysis services”



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indisputably would violate 42 U.S.C. § 1395rr(b)(14)(B)(ii-iv), which limit “renal dialysis

services” only to services that are “furnished to individuals for the treatment of end stage renal

disease.” In limiting judicial review of agency action to “the identification of renal dialysis

services included in the bundled payment,” 42 U.S.C. § 1395(b)(14)(G), Congress could not have

contemplated that the power to “identif[y] renal dialysis services included in the bundled payment”

encompassed the authority to redefine “renal dialysis services” and then identify drugs for the

treatment of asthma, HIV, or arthritis as renal dialysis services. Accordingly, Congress could not

have intended to limit judicial review of such determinations either. See Fresno Cmty. Hosp., 370

F. Supp. 3d at 149 (citing Amgen for the proposition that “courts typically construe preclusion

statutes to extend ‘no further than the Secretary’s statutory authority”).

       Where, as here, “the determination of whether the court has jurisdiction is intertwined with

the question of whether the agency has authority for the challenged action,” the D.C. Circuit has

instructed that “the court must address the merits to the extent necessary to determine whether the

challenged agency action falls within the scope of the preclusion on judicial review.” Amgen, 357

F.3d at 113. Because the Complaint alleges that CMS “has acted outside the scope of its statutory

mandate” in redefining the statutory phrase “renal dialysis services” in its regulation, the Court

has “jurisdiction to review the [agency’s] action.” COMSAT, 114 F.3d at 227.

       American Hospital Association v. Azar, 964 F.3d 1230, 1238 (D.C. Cir. 2020), is

instructive. There, the plaintiffs argued that the Department of Health & Human Services (“HHS”)

had acted in excess of its statutory authority when it reduced certain reimbursement rates for

outpatient services. The Government responded that the Court lacked jurisdiction because the

Medicare statute precluded review of agency decisions related to reimbursement for outpatient

services, including “the establishment of . . . methods described in paragraph 2(F).” Id. at 1237-




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38. But the plaintiffs’ core claim was that the challenged rate reduction was “not a ‘method[]

described in paragraph 2(F).’” Id. at 1238. Thus, “to determine whether the judicial-review bar

applie[d],” the Court had to answer the merits question presented by the plaintiffs’ suit. Id. As

the Court explained, if the plaintiffs were right that the agency “ha[d] acted outside the scope of

its statutory mandate,” then the Court would “have jurisdiction.” Id. (citation omitted). “Put

differently, ‘the jurisdiction-stripping provision does not apply’ if the agency’s action fails to

qualify as the kind of action for which review is barred.” Id. Thus, if the court “find[s] that [the

agency] has acted outside the scope of its statutory mandate, we also find that we have

jurisdiction,” and “the court can simply skip to the merits question in its analysis.” Id.7

       The D.C. Circuit has also explained why the Court must reach the merits of whether the

agency has exceeded its delegated authority: Were the law otherwise, “agencies could characterize

reviewable or unauthorized action as falling within the scope of no-review provisions whose

application to such action Congress did not intend.” Amgen, 357 F.3d at 113. But the D.C. Circuit

has “categorically reject[ed]” the assumption that an agency “possesses plenary authority to act

within a given area simply because Congress has endowed it with some authority to act in that

area.” COMSAT, 114 F.3d at 227. Ensuring the agency has acted within its statutory authority is

especially important with high-stakes preclusion provisions like this one: Since the preclusion

provision here applies to both “administrative [and] judicial review” of agency action, 42 U.S.C.




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  The D.C. Circuit distinguished this analysis from the more-demanding standard of “ultra vires”
review, which requires a showing that the agency “plainly acted in excess of its delegated powers
and contrary to a specific, clear, and mandatory prohibition.” Id. That framework did not apply
in American Hospital Association, because there, as here, the challenger argued that the “same
agency error . . . simultaneously ma[kes] the jurisdictional bar inapplicable and compel[s] setting
aside the challenged agency action,” not that the Court should assert jurisdiction notwithstanding
the clear application of the jurisdictional bar to remedy a “statutory violation[] even when a statute
precludes review.” Id. at 1238-39.

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§ 1395rr(b)(14)(G), CMS apparently views the provision as preventing even internal appeals to

higher authority within CMS. See Dkt. 1-1 (offering no right of appeal); Ascension Borgess Hosp.

v. Becerra, 557 F. Supp. 3d 122, 127 (D.D.C. 2021) (noting that CMS had denied internal appeal

due to similar preclusion provision).

       That the Court needs to ensure CMS is acting within its statutory authority to answer the

jurisdictional question is not to say that the preclusion provision has no teeth: “If a no-review

provision shields particular types of administrative action, a court may not inquire whether a

challenged agency decision is arbitrary, capricious, or procedurally defective, but it must determine

whether the challenged agency action is of the sort shielded from review.” Amgen, 357 F.3d at

113 (emphasis added); see also Ascension, 557 F. Supp. 3d at 129 (similar). So too here.

       Defendants’ lead case in support of dismissal, Ascension, illustrates this distinction and

shows why Plaintiffs’ challenge to Defendants’ redlining of the definition of “renal dialysis

services” is reviewable. In Ascension, this Court confronted a challenge to HHS’s “use of an

undisclosed audit protocol to estimate” certain factors required for reimbursement, which HHS

had allegedly “failed to properly promulgate through notice-and-comment rulemaking.” 557 F.

Supp. 3d at 124 (emphasis added). This Court held that this classic procedural challenge was

barred from judicial review by a provision precluding “review . . . [of] [a]ny estimate of the

Secretary for purposes of determining the [relevant] factors.” Id. at 125 (quoting 42 U.S.C.

§ 1395ww(r)(3)). As this Court explained, the plaintiffs could not get around that statutory bar by

claiming that “procedural challenges” to the agency’s methodology fell outside the scope of the

preclusion provision. Id. at 129-31. And because the challenger had not argued that CMS acted

beyond its statutory authority in promulgating the ultimate estimate in that case, jurisdiction and

the merits did not merge. See id.




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       Ascension is therefore readily distinguishable from the scenario envisioned by Amgen and

American Hospital Association, in which the core challenge is whether the agency acted beyond

and in conflict with its statutory authority. In that situation, a provision limiting judicial review is

naturally read so as not “to foreclose review of action exceeding agency authority.” Amgen, 357

F.3d at 112. Rather, “the preclusion on review” is read to “extend[] no further than the Secretary’s

statutory authority to make the[] [challenged decision].” Amgen, 357 F.3d at 112. Because this

case is in the vein of Amgen and American Hospital Association, as opposed to the procedural

challenge in Ascension, Defendants’ jurisdictional challenge requires this Court to consider

whether CMS acted beyond its statutory authority.8 As detailed below, the record answers that

question in the affirmative. Accordingly, § 1395rr(b)(14)(G) does not apply.

               2.      CMS Has Not Acted Within the Bounds Of Its Statutorily Delegated
                       Authority

       In determining whether CMS “has acted outside the scope of its statutory mandate” such

that the Court would also have jurisdiction, Am. Hosp. Ass’n, 964 F.3d at 1238, the Court must

evaluate in its “independent judgment” whether “the best reading of a statute is that it delegates

discretionary authority to an agency” to promulgate regulations implementing the relevant

statutory provision. Loper Bright Enters. v. Raimondo, 144 S. Ct. 2244, 2263 (2024). If Congress

provides such a delegation, the Court then “must exercise [its] independent judgment in deciding

whether an agency has acted within its statutory authority,” by independently “fix[ing] the

boundaries of [the] delegated authority” and “ensuring that the agency acts within” them—

specifically, by ensuring the agency has applied the “best reading” of the statutory text, and not



8
 To the extent Defendants argue that the regulation is “inextricably intertwined with” subsequently
identifying XPHOZAH as a “renal dialysis service,” 557 F. Supp. 3d at 130, that is not correct.
The regulation is a separate agency action with broad application that exceeds Defendants’
statutory authority.

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any other reading. Id. at 2263, 2273. As detailed below, CMS has not acted within the bounds of

its statutorily delegated authority.

        Here, CMS has never identified any source of authority to expand the definition of “renal

dialysis services” to include additional categories beyond the four categories that Congress

delimited in the statute. There is none. To the extent CMS has generalized rulemaking authority

under the Act, it is limited to promulgating “regulations, not inconsistent with this Act, as may be

necessary to the efficient administration of the functions with which [the agency] is charged under

this Act,” 42 U.S.C. § 1302(a) (emphasis added), and to “prescribe such regulations as may be

necessary to carry out the administration of the insurance programs under this subchapter,” id.

§ 1395hh(a)(1) (emphasis added). Those generalized rulemaking provisions permit CMS to carry

out the statutory functions charged by Congress in the Act, not to expand upon those functions.

See Merck & Co. v. HHS, 385 F. Supp. 3d 81, 92 (D.D.C. 2019) (collecting cases for the view that

HHS’s “general rulemaking authority” does not “equal congressional authorization” to modify

statute); Eagle Pharms., Inc. v. Azar, 952 F.3d 323, 331 (D.C. Cir. 2020) (rulemaking authority

does not permit agency to add requirements beyond those Congress enumerated); Am. Petroleum

Inst. v. EPA, 52 F.3d 1113, 1119 (D.C. Cir. 1995) (agency cannot add “new factors to a list of

statutorily specified ones”); see also Koi Nation of N. Cal. v. U.S. Dep’t of Interior, 361 F. Supp.

3d 14, 42 (D.D.C. 2019) (Howell, J.) (finding “administrative definition” invalid because it varied

“plain language of the statute”).

        Nor did Congress more specifically delegate to CMS the authority to expand the statutory

definition of “renal dialysis services.” See generally 42 U.S.C. § 1395rr (provisions governing the

End Stage Renal Disease Program). While the statute provides CMS with a host of authorities to




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define specific, enumerated statutory terms governing the End Stage Renal Disease Program,9 and

to promulgate specific regulations implementing that Program,10 conspicuously lacking from the

statute is any delegated authority to expand upon the definition of “renal dialysis services” that

Congress itself enacted. That makes sense: Given the critical impacts on patients, providers, and

manufacturers of sweeping drugs into the ESRD PPS bundle, Congress reserved to itself the

authority to make those important decisions. See 42 U.S.C. § 1395rr(b)(14)(B). Given Congress’s

intentional choice to convey a broader “textual delegation of authority” over specific aspects of

the End Stage Renal Disease Program, but not to delegate responsibility for drafting or revising

the definition of “renal dialysis services,” CMS cannot “override Congress’s clearly expressed

will” by taking upon itself delegated authority that Congress conspicuously decided to withhold.

See, e.g., EchoStar Satellite L.L.C. v. FCC, 704 F.3d 992, 999-1000 (D.C. Cir. 2013) (noting

similar absence of specific, delegated authority).

       Far from conveying authority to expand upon Congress’s definition of “renal dialysis

services,” the statute twice expressly instructs CMS to adhere to Congress’s chosen definition of

“renal dialysis services . . . as defined in subparagraph (B)” of the statute. See, e.g., 42 U.S.C.

§ 1395rr(b)(14)(A)(i) (authorizing bundled payment “to a provider of services or a renal dialysis

facility for renal dialysis services (as defined in subparagraph (B)) (emphasis added)); 42 U.S.C.


9
 A “period of time” is to be “defined in regulations,” 42 U.S.C. § 1395rr(b)(3)(A)(ii); “medically
necessary supplies and equipment” is to be “defined in regulations,” id. § 1395rr(b)(8); “qualified
provider or facility personnel” are to be “defined in regulations,” id. § 1395rr(b)(9)(A); “self-
dialysis services” is also to be “defined by the Secretary in regulations,” id. § 1395rr(b)(10); and
“low-volume facilities” are to be “defined by the Secretary” too,” id. § 1395rr(b)(14)(D)(iii).
10
   See, e.g., 42 U.S.C. § 1395rr(b)(1) (payments to renal dialysis facilities must “meet such
requirements as the Secretary shall by regulation prescribe …”); id. § 1395rr(b)(2)(B) (“The
Secretary shall prescribe in regulations any methods and procedures …”); id. § 1395rr(b)(5) (“in
accordance with regulations prescribed by the Secretary”); id. § 1395rr(b)(7) (“Secretary shall
provide by regulation for a method …); id. § 1395rr(b)(10) (“meet such other requirements as the
Secretary may prescribe …”).

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§ 1395rr(h)(1)(A) (authorizing quality incentives “[w]ith respect to renal dialysis services (as

defined in subsection (b)(14)(B))” (emphasis added)). This case is thus far afield from a case

where Congress has expressly delegated an agency “broad discretion” to select an “appropriate”

regulatory approach to fill Congress’s silence. Ascension, 557 F. Supp. 3d at 132. Congress did

nothing like that.

       CMS cannot “exercise its authority in a manner that is inconsistent with the administrative

structure that Congress enacted.” FDA v. Brown & Williamson Tobacco Corp., 529 U.S. 120, 125

(2000) (citation and internal quotation marks omitted); Michigan v. EPA, 576 U.S. 743, 751 (2015)

(agency must “operate within the bounds” of Congress’s text); Nat’l Mining Ass’n v. U.S. Dep’t

of Interior, 105 F.3d 691, 694 (D.C. Cir. 1997) (an agency cannot “trump Congress’s specific

statutory directive”). Yet Defendants exceeded the bounds set by Congress in their regulation at

42 C.F.R. § 413.171, bringing oral-only drugs within the scope of the regulatory definition of

“renal dialysis services.” Pursuant to MIPPA, Congress defined “renal dialysis services” to

include four categories of services provided by dialysis facilities in the course of providing

dialysis. 42 U.S.C. § 1395rr(b)(14)(B). In so doing, Congress provided that only two categories

of oral drugs be included within the bundled payment: the “oral form” of an erythropoiesis

stimulating agent, and the “oral equivalent form” of a “drug[] or biological[] . . . furnished to

individuals for the treatment of end stage renal disease.” Id. at 1395rr(b)(14)(B)(ii)-(iii). Because

an oral-only drug falls within neither category, CMS’s inclusion of such drugs within the bundle

pursuant to its regulation in 42 C.F.R. § 413.171 is in excess of statutory authority. 5 U.S.C. §

706. That regulation should be vacated and set aside.

       Here, the statutory provision establishing the ESRD PPS bundle generally provides that

the bundled payment is made “to a provider of services or a renal dialysis facility for renal dialysis




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services (as defined in subparagraph (B)).” 42 U.S.C. § 1395rr(b)(14)(A) (emphasis added).

Congress’s definition of “renal dialysis services” consists of four subparts:

               (i)    items and services included in the composite rate for renal
                      dialysis services as of December 31, 2010;

               (ii)   erythropoiesis stimulating agents and any oral form of such
                      agents that are furnished to individuals for the treatment of end
                      stage renal disease;

               (iii) other drugs and biologicals that are furnished to individuals
                     for the treatment of end stage renal disease and for which
                     payment was (before the application of this paragraph) made
                     separately under this subchapter, and any oral equivalent form
                     of such drug or biological; and

               (iv) diagnostic laboratory tests and other items and services not
                    described in clause (i) that are furnished to individuals for the
                    treatment of end stage renal disease.

42 U.S.C. § 1395rr(b)(14)(B). Oral-only drugs come within none of these subparts.

       Clauses (i) and (ii). It is undisputed that neither oral-only drugs in general, nor XPHOZAH

in particular, fall within the scope of clause (i) or (ii): CMS has never argued otherwise. See 74

Fed. Reg. at 49,922; 75 Fed. Reg. at 49,030. Clause (i) is limited to “items and services” already

included in the “composite rate for renal dialysis services,” as of December 31, 2010. 75 Fed.

Reg. at 49,036.       As of December 31, 2010, there were no-oral-only drugs included in the

composite rate for renal dialysis services, nor did dialysis facilities administer such drugs. Supra

at 6-10; see Dkt. 1 ¶¶ 65-67. XPHOZAH, for example, was not approved by the FDA until over

a decade later, in 2023. Dkt. 1 ¶ 27.11 Likewise, clause (ii) is limited to “erythropoiesis stimulating




11
   See also Ex. 3 to Williams Decl., Dkt. 14-6 (Ardelyx Comment to CY 2024 ESRD PPS Proposed
Rule (Aug. 21, 2023)); see also Ardelyx Press Release, FDA Approves XPHOZAH® (tenapanor),
a First-in-Class Phosphate Absorption Inhibitor (Oct. 17, 2023), https://ir.ardelyx.com/news-
releases/news-release-details/fda-approves-xphozahr-tenapanor-first-class-phosphate-absorption
(stating FDA approved XPHOZAH in October 2023).


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agents” (drugs that stimulate the production of red-blood cells) and “any oral form of such agents,”

thereby excluding XPHOZAH and other oral-only drugs that are not ESAs. See 75 Fed. Reg. at

49,036.

       Clause (iii). In proposing to incorporate oral-only drugs into the ESRD bundle under 42

C.F.R. § 413.171, CMS principally relied on clause (iii), which encompasses “other drugs and

biologicals that are furnished to individuals for the treatment of end stage renal disease and for

which payment was (before the application of this [paragraph]) made separately under this title”—

i.e., outside the composite rate system—“and any oral equivalent form of such drug or biological.”

Despite that nuanced definition, CMS interpreted this provision “to include all drugs and

biologicals formerly payable under either Medicare Part B or Part D used to treat ESRD, regardless

of the route of administration.” 74 Fed. Reg. at 49,927-28 (emphasis added); 75 Fed. Reg. at

49,038 (same). CMS thus redefined “renal dialysis services” in its regulation to include “drugs . . .

with only an oral form.” 42 C.F.R. § 413.171(3).

       That is untenable. By its express terms, clause (iii) does not define “renal dialysis services”

to include all drugs. Rather, it includes only a particular subset of drugs: “other drugs” furnished

“for the treatment of end stage renal disease”—i.e., “other” drugs not included in clauses (i) or

(ii)—for which payment was made separately under this title, as well as “any oral equivalent form

of such drug or biological.” 42 U.S.C. § 1395rr(b)(14)(B)(iii) (emphasis added). Clause (iii) thus

reaches only “oral” drugs that are the “equivalent” of “other drugs and biologicals that are

furnished to individuals for the treatment of end stage renal disease” and for which payment had

been made by Medicare under a separate Medicare provision (like Medicare Part B). Id.

       That text accords with MIPPA’s purpose. MIPPA was designed to promote cost-effective

provision of renal dialysis services. When MIPPA was enacted, however, drugs and biologics




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furnished to patients by dialysis facilities for the treatment of ESRD were generally administered

intravenously or by injection during dialysis, not orally. Supra at 6-10. The inclusion of oral-only

drugs would have done little, therefore, to advance Congress’s goals of deterring dialysis facilities

from overusing then-profitable, separately billable drugs or promoting operational efficiency at

such facilities. See 75 Fed. Reg. at 49,032 (ESRD bundle was intended to “reduc[e] incentives to

overuse profitable separately billable drugs” and promote “operational efficiency”). So it would

have made little sense to define “renal dialysis services” to encompass oral-only drugs neither

provided by dialysis facilities, nor administered as part of renal dialysis services.12

       CMS itself recognized that “an alternative reading of the last part of clause (iii) with respect

to the phrase ‘and any oral equivalent form of such drug or biological’ could be interpreted to limit

the scope of the drugs and biologicals included in the bundle to only oral versions of injectables.”

74 Fed. Reg. at 49,928 (emphasis added). CMS disagreed with that outcome as a matter of policy.13

Id. It therefore dismissed that construction as “unduly constrained.” Id. But in implementing the

statute, CMS was not free to “rewrite clear statutory terms to suit its own sense of how the statute

should operate.” Utility Air Regul. Grp. v. E.P.A., 573 U.S. 302, 328 (2014); see also Council for




12
   By contrast, extending the bundled payment to encompass the “oral equivalent form” of an
injectable drug or biological administered by a dialysis facility during renal dialysis serves
MIPPA’s purpose by facilitating the use of generally less expensive oral equivalents to drugs that
a dialysis facility would otherwise administer during dialysis.
13
   Ironically, CMS’s policy concerns were backwards. Numerous stakeholders, from patient
groups to physicians to drug manufacturers to dialysis providers, have repeatedly warned CMS
that the inclusion of oral-only drugs into the bundle is bad policy that will undermine health
outcomes and harm patients. Dkt. 1 ¶ 19; Clynes Decl. ¶ 35, Dkt. 14-1; Puckrein Decl. ¶ 38, Dkt.
14-2; Dkt. 14-3 ¶¶ 77-78. Not only that, placing oral-only drugs into the bundle will increase the
cost to patients who are ill-suited to pay it; indeed, CMS itself admits that placing oral phosphate
binders into the bundle alone will impose $130 million in additional costs on ESRD patients who
are disproportionately low income and unemployed. See 89 Fed. Reg. at 55,760.

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Urological Interests v. Burwell, 790 F.3d 212, 228 (D.C. Cir. 2015) (“An agency crosses an

impermissible line when it moves from interpreting a statute to rewriting it.”).

        That is exactly what CMS did. 42 U.S.C. § 1395rr(b)(14)(B)(iii) defines “renal dialysis

services” to include “other drugs and biologicals . . . for the treatment of end stage renal disease

. . . and any oral equivalent form of such drug or biological.” But CMS altered that language when

interpreting that provision in 42 C.F.R. § 413.171, effectively removing the struck through

language below from the statute and replacing it with the bolded regulatory text.

                (3) Other drugs and biologicals that are furnished to individuals for
                the treatment of ESRD and for which payment was (prior to January
                1, 2011) made separately under Title XVIII of the Act (and any oral
                equivalent form of such drug or biological including drugs and
                biologicals with only an oral form) . . .

See 42 C.F.R. § 413.171. In effect, CMS rewrote clause (iii) of the statute to cover “all other drugs

and biologicals” that treat ESRD and would otherwise have been paid for outside the composite

rate system. Had Congress intended clause (iii) to cover “all drugs and biologicals that treat

ESRD,” it could easily have said so, using far fewer and simpler words. See Wint v. Yeutter, 902

F.2d 76, 82 (D.C. Cir. 1990) (agency properly eschewed “all-inclusive definition” because

“Congress could have said simply ‘all plants’ if Congress had indeed meant just that”). It did not.

It should be unsurprising, therefore, that “many comment[er]s” criticized CMS’s interpretation of

clause (iii) as “a misreading of statutory intent” that “violates principles of statutory construction.”

75 Fed. Reg. at 49,038. Fundamentally, the “best reading” of clause (iii) excludes oral-only drugs,

Loper Bright, 144 S. Ct. at 2266.14 CMS’s contrary regulatory construction should be rejected.


14
  CMS’s regulatory interpretation would negate Congress’s decision to carefully prescribe the
types of drugs that fall within its definition of “renal dialysis services.” Interpreting clause (iii) to
exclude oral-only drugs accords with Congress’s choice in clause (ii) to specifically instruct that
ESAs, and any oral form of such agents, are encompassed within the definition of renal dialysis



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        Notably, Congress expressly considered and rejected legislation that would have amended

clause (iii) to expand the definition of “renal dialysis services” to include oral-only drugs. One

year after the enactment of MIPPA, the House of Representatives introduced a bill that would have

amended clause (iii) to read as follows (italicized text would have been added):

        (iii) Other drugs and biologicals that are furnished to individuals for the
        treatment of end stage renal disease and for which payment was (before the
        application of this paragraph) made separately under this title, and any oral
        equivalent form of such drug or biological including oral drugs that are not the
        oral equivalent of an intravenous drug (such as oral phosphate binders and
        calcimimetics).

H.R. 3200, 11th Cong. § 1232 (2009), America’s Affordable Health Choices Act of 2009

(emphasis added). But Congress chose not to adopt this statutory language, which would have

adopted CMS’s preferred construction of clause (iii) and extended that definition to “oral drugs

that are not the oral equivalent of an intravenous drug.” The fact that Congress considered but did

not adopt a proposal to specifically include oral-only drugs in the ESRD PPS further underscores

that CMS’s contrary construction is inconsistent with MIPPA’s language. See, e.g., Gen. Motors

Corp. v. Ruckelshaus, 742 F.2d 1561, 1578 (D.C. Cir. 1984) (“Where Congress has so explicitly

and deliberately considered, and then rejected, a more expansive requirement than that ultimately

enacted, it is not for the agency to exceed the statutory limits under the guise of ‘interpretation.’”).

        Clause (iv). Perhaps recognizing the tenuous nature of its interpretation of clause (iii),

CMS also suggested that “if oral-only drugs are not considered to fall within clause (iii) of the




services. Had Congress intended for all injectable and oral treatments provided to ESRD patients
to fall within the scope of “renal dialysis services,” there would have been no need to specify that
renal dialysis services extend to “erythropoiesis stimulating agents and any oral form of such
agents.” 42 U.S.C. § 1395rr(b)(14)(B)(iii). To give effect to Congress’s decision to separately
identify ESAs and other drugs and biologicals, and then to specifically include only oral equivalent
forms of such agents, drugs, or biologicals, the statute is best read to exclude oral-only drugs for
which there is no equivalent, non-oral agent, drug, or biological.


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statutory definition . . . [it] believe[d] that such drugs would appropriately fall under clause (iv).”

75 Fed. Reg. at 49,040; see also 74 Fed. Reg. at 49,928 (asserting the inclusion of oral-only drugs

is “supportable under clause (iv)”). Clause (iv) directs CMS to include in the bundle “diagnostic

laboratory tests and other items and services not described in clause (i) that are furnished to

individuals for the treatment of end stage renal disease.” 42 U.S.C. § 1395rr(b)(14)(B)(iv). In its

2011 rulemaking, CMS suggested clause (iv) “can be interpreted as a residual or catch all category

for drugs which do not fall under the scope of those renal dialysis services identified in clauses (ii)

and (iii),” including oral-only drugs that “do not fall under the scope of those specified renal

dialysis services identified in clauses (ii) and (iii).” 75 Fed. Reg. at 49,039.

        CMS’s “catch-all” reading of clause (iv) is impermissible because it negates Congress’s

choice to enumerate specific categories of drugs as falling within the definition of “renal dialysis

services.” Congress chose to reference particular “oral” or “oral equivalent” forms of “such” drugs

or agents—which means that these are the only oral drugs covered. See, e.g., A. Scalia & B.

Garner, Reading Law: The Interpretation of Legal Texts 107 (2012) (“Negative-Implication

Canon[:] The expression of one thing implies the exclusion of others.”); Jennings v. Rodriguez,

583 U.S. 281, 300 (2018) (same). If Congress intended all drugs (or even all oral drugs) furnished

to individuals for the treatment of ESRD to qualify as “renal dialysis services,” there would have

been no need to more narrowly define other drugs, biologicals, and oral equivalent forms of such

drugs and biologicals in clauses (ii) and (iii).

        Put another way, if clause (iv) was interpreted, as CMS has suggested, to encompass all

drugs for the treatment of ESRD not incorporated by clause (i), it would render clauses (ii) and

(iii) superfluous: Any drug, biological, or oral equivalent form that falls within clauses (ii) and

(iii) necessarily would qualify as “items and services not described in clause (i) that are furnished




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to individuals for the treatment of end stage renal disease.” 42 U.S.C. § 1395rr(b)(14)(B)(iv); see

also Air Transp. Ass’n of Am., Inc. v. U.S. Dep’t of Agric., 37 F.4th 667, 672 (D.C. Cir. 2022) (“It

is a familiar canon of statutory construction that, if possible, we are to construe a statute so as to

give effect to every clause and word.”) (citations omitted); Obduskey v. McCarthy & Holthus LLP,

586 U.S. 466, 476 (2019) (courts “presum[e]” that laws do not contain “surplusage”).

       CMS appeared to recognize, in response to comments, that it would “violate[] a principle

of statutory construction [to] mak[e] clauses (ii) and (iii) otherwise redundant.” 75 Fed. Reg. at

49,039. To that end, it conceded that clause (iv) “does not mean all drugs currently available to

Medicare beneficiaries for the treatment of ESRD.” Id. But it believed that clause (iv) “can be

interpreted as a residual or catch all category for drugs which do not fall under the scope of those

specified renal dialysis services identified in clauses (ii) and (iii).” Id. That ignores clause (iv)’s

actual language, which speaks to “laboratory tests and other items and services not described in

clause (i),” not to drugs which are not described in clause (ii) and clause (iii). Id. at 49,040

(emphasis added).     Clause (iv) therefore cannot be interpreted to encompass all drugs not

encompassed in clause (i) (including oral-only drugs) without rendering clause (ii) and (iii) utterly

redundant and superfluous.

       In Fischer v. United States, the Supreme Court recently confronted a similar “surplusage

problem.” 144 S. Ct. 2176, 2188 (2024). At issue were two subsections—one that described

“particular types” of conduct in “specific terms,” with another “broader” provision going beyond

the first. Id. at 2183; see 18 U.S.C. § 1512(c)(1)-(2). The question was whether the second

subsection was best read as linked with (and limited by) the first subsection. See Fischer, 144 S.

Ct. at 2183. The Court’s answer was “yes.” It found that though the latter, “all-encompassing

interpretation may be literally permissible, it defie[d] the most plausible understanding of why [the




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relevant subsections] are conjoined, and it render[ed] an unnerving amount of statutory text mere

surplusage.” Id. at 2190 (emphasis added). After all, because “Congress would not go to the

trouble of spelling out the list in (c)(1) if a neighboring term swallowed it up, the most sensible

inference is that the scope of (c)(2) is defined by reference to (c)(1).” Id. at 2185.

       The question, therefore, is not whether clause (iv)’s reference to “other items and services”

could literally be read to encompass drugs, a construction that would override the more focused,

limited categories of drugs that Congress saw fit to include in clauses (ii) and (iii). 42 U.S.C.

§ 1395rr(b)(14)(B)(iv). Instead, such a “general phrase can be given a more focused meaning by

the terms linked to it. That principle ensures—regardless of how complicated a sentence might

appear—that none of its specific parts are made redundant by a clause literally broad enough to

include them.” Fischer, 144 S. Ct. at 2184.

       So too here. If CMS’s reading is right, “there would have been scant reason for Congress

to provide any specific examples at all” in clauses (ii) and (iii). Id. at 2185. The “sweep” of clause

(iv) “would consume” clauses (ii) and (iii), “leaving th[ose] narrower provision[s] with no work

to do.” Id. Instead, clauses (ii) and (iii) would be an “elaborate pumpfake,” id.—two clauses

specifically referencing oral forms of particular drugs would be immediately superseded in the

very next clause (in the very same sentence) by a category that covers all drugs, including all oral-

only ones.    But construing clause (iv) that way gets standard statutory analysis “‘exactly

backwards,’ eliminating specific terms because of broad language that follows them, rather than

limiting the broad language in light of narrower terms that precede it.” Id. (quoting Bissonnette v.

LePage Bakeries Park St., LLC, 601 U.S. 246, 252, 255 (2024)).

       CMS’s expansive alternative reading of clause (iv) also contradicts the canon of ejusdem

generis, the principle that “a ‘general or collective term’ at the end of a list of specific items’ is




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typically ‘controlled and defined by reference to’ the specific classes . . . that precede it.” Fischer,

144 S. Ct. at 2184. Here, Congress signaled the narrower scope of clause (iv) by addressing it to

cover “diagnostic laboratory tests and other items and services not [covered by] clause (i).” 42

U.S.C. § 1395rr(b)(14)(B) (emphasis added). Particularly in light of a statutory scheme in which

clause (ii) and (iii) carefully specify only certain categories of drugs, clause (iv) is best read to

encompass “objects similar in nature to those objects enumerated by the preceding specific words.”

Cir. City Stores, Inc. v. Adams, 532 U.S. 105, 114-15 (2001) (quoting 2A N. Singer, Sutherland

on Statutes and Statutory Construction § 47.17 (1991)); see also 75 Fed. Reg. at 49,064 (indicating

that “other items and services” could be read more narrowly to mean “[o]ther items and services

separately billed by ESRD facilities that are used in conjunction with injectable medications or

laboratory tests, such as blood products, syringes, and other dialysis supplies that are billed on

Medicare outpatient institutional claims”) (emphasis added). Instead embracing a broad reading

of clause (iv) in the event that its principal construction of clause (iii) was found lacking, CMS

ignored the “common sense intuition that Congress would not ordinarily introduce a general term

that renders meaningless the specific text that accompanies it.” Fischer, 144 S. Ct. at 2184. This

Court should not endorse that reading, which CMS itself recognized would render its statutory

definition “overlapping or redundant.” 75 Fed. Reg. at 49,040.

        For all of these reasons, CMS’s attempt to redefine “renal dialysis services” to include oral-

only drugs is contrary to law and in excess of statutory authority. Because there is no dispute

phosphate-lowering therapies, including XPHOZAH, are oral-only drugs, Dkt. 14-3 ¶¶ 33-35; Ex.

8 to Williams Decl. at 1, Dkt. 14-11, CMS’s decision to cease payment for them under Medicare

Part D and treat those drugs as part of the ESRD PPS bundle starting on January 1, 2025, pursuant

to CMS’s regulations is likewise contrary to law and in excess of statutory authority. Accordingly,




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under Amgen and American Hospital Association, and for the reasons explained supra at 14-36,

§ 1395rr(b)(14)(G)’s limitation on the judicial review of Defendants’ “identification” of renal

dialysis services does not bar Plaintiffs’ challenge.

II.    SECTION 1395rr(B)(14)(G) DOES NOT BAR JUDICIAL REVIEW OF
       PLAINTIFFS’ PARTICULAR CHALLENGES TO THE XPHOZAH DECISION

       In their Complaint, Plaintiffs also challenge Defendants’ specific decision to designate

XPHOZAH as a renal dialysis service within the meaning of 42 C.F.R. § 413.171. See, e.g., Dkt.

1 ¶¶ 146-168, 199, 206; see also Dkt. 14 at 30-37 (briefing these XPHOZAH-specific arguments).

Those particular challenges also fall outside Section 1395rr(b)(14)(G)’s reach.

       XPHOZAH Is An Oral-Only Drug: To begin with, Plaintiffs argue that (i) Defendants

acted outside their statutory authority by enlarging the definition of “renal dialysis services” to

include oral-only drugs, supra at 27-36, and then (ii) unlawfully applied that unauthorized

definition when designating XPHOZAH a “renal dialysis service.”             As explained above,

§ 1395rr(b)(14)(G) does not preclude judicial review of such challenges. As Amgen explained, a

jurisdiction-stripping provision like § 1395rr(b)(14)(G) “prevent[s] review only of those

[determinations] that the Medicare Act authorizes the Secretary to make.” Amgen, 357 F.3d 112.

To the extent that this Court agrees that Defendants exceeded their statutory authority when

redefining “renal dialysis services” to include oral-only drugs, the agency similarly exceeded its

statutory authority when designating XPHOZAH to be a renal dialysis service on that basis. As

explained supra at 14-36, Section 1395rr(b)(14)(G)’s limitation on judicial review would not bar

a challenge to the agency’s decision in that scenario.

       XPHOZAH Is Not Furnished For The Treatment Of End-Stage Renal Disease:

Plaintiffs also argue that Defendants exceeded their statutory authority by designating XPHOZAH

a renal dialysis service even though Defendants did not find that XPHOZAH was “furnished to


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individuals for the treatment of end stage renal disease,” as required by Congress’s definition of

renal dialysis services at § 1395rr(b)(14)(B)(ii-iv). Because Defendants’ characterization of

XPHOZAH as a “renal dialysis service” fell outside the agency’s statutory authority,

§ 1395(b)(14)(G)’s limitation on judicial review is again inapplicable.

       Congress specified that services would qualify as a “renal dialysis service” under

§ 1395rr(b)(14)(B)(ii-iv) only to the extent that the service is “furnished to individuals for the

treatment of end stage renal disease.” (emphasis added). The XPHOZAH Decision, however,

purported to sweep XPHOZAH within the scope of renal dialysis services “because it is furnished

to individuals to treat a condition associated with ESRD.” Dkt. 1-1 at 1 (emphasis added). But

Congress imposed a narrower and more demanding requirement: drugs cannot qualify as “renal

dialysis services” merely because they treat a condition “associated with ESRD,” like hypertension

or diabetes. Instead, the drug must be “for the treatment of end stage renal disease.” 42 U.S.C.

§ 1395rr(b)(14)(B)(iii)-(iv). Defendants did not make that required finding.

       It is hardly surprising that Defendants did not make a finding that XPHOZAH is for the

treatment of end stage renal disease.      As they concede in this Court, XPHOZAH “treats

hyperphosphatemia, a common comorbidity of chronic kidney disease that can cause, among other

things, loss of bone density.” Dkt. 11-1 at 2 (emphasis added). A comorbidity is “[t]he condition

of having two or more diseases at the same time.”15 See also Oxford English Dictionary (2020)

(defining comorbidity as “[t]he coexistence of two or more diseases, disorders, or pathological

processes in one individual”). Accordingly, Defendants do not seriously contest that XPHOZAH

treats a separate disease, hyperphosphatemia, not ESRD.




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   National Institute of Health, National Cancer Institute, NCI Dictionary, available at
https://www.cancer.gov/publications/dictionaries/cancer-terms/def/comorbidity.

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       Although Defendants emphasize that the drug has been initially approved for treating

“adults with chronic kidney disease on dialysis,” Dkt. 11-1 at 2, Congress’s definition of “renal

dialysis services” requires more—that the service is “furnished for the treatment of end stage renal

disease.” 42 U.S.C. § 1395rr(b)(14)(B)(ii-iv). Because adults with chronic kidney disease on

dialysis often experience any number of comorbidities, it is not uncommon for such individuals to

be prescribed a variety of drugs to treat other conditions, like hyperphosphatemia. See Dkt. 1 ¶ 150

(prevalence of hypertension in ESRD patients is about 84% percent); id. ¶ 14 (noting ESRD

patients are commonly furnished drugs for the treatment of other conditions); see also Dkt. 11-1

(acknowledging certain drugs frequently administered to ESRD patients should be excluded from

the bundled rate).

       In designating XPHOZAH as a “renal disease service” because it treats a condition

“associated with ESRD,” Defendants took a shortcut that Congress’s statutory definition did not

permit. Dkt. 1 ¶¶ 14-15, 146-147, 153, 199-200 (alleging that because XPHOZAH is not furnished

“for the treatment of end state renal disease” “Defendants lack any statutory authority to . . . sweep

XPHOZAH into the bundle”); Dkt. 14 at 32 (arguing that CMS’s evaluation of whether

XPHOZAH treats a “condition associated with ESRD” exceeds the “definition of ‘renal dialysis

services’” and thus is “in excess of statutory authority”). Because the preclusion provision does

not “shield the Secretary’s unauthorized action” from review, the Court has jurisdiction. Amgen,

357 F.3d at 114.

       Essential For The Delivery Of Maintenance Dialysis: Finally, Plaintiffs challenge

Defendants’ determination that XPHOZAH is “essential for the delivery of maintenance dialysis”

such as is necessary under CMS’s own regulations to qualify for the bundled payment system. See

Dkt. 1-1 (“CMS has identified XPHOZAH to be a renal dialysis service under 42 CFR 413.171,




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because it . . . is essential to the delivery of maintenance dialysis.”) (emphasis added); see also 42

C.F.R. § 413.171(5) (“Renal dialysis services do not include those services that are not essential

for the delivery of maintenance dialysis.”). As Plaintiffs have explained, however, XPHOZAH is

not administered by dialysis facilities, let alone taken during or essential to the delivery of

maintenance dialysis. Dkt. 1 ¶ 43. As a result, it should not qualify as a renal dialysis service

under CMS’s own regulations.

       Although this claim is differently situated than Plaintiffs’ other challenges, it too falls

outside the scope of § 1395rr(b)(14)(G)’s limitations on judicial review. The APA provides for

review of an agency’s failure to comply with its own regulations, because an agency is “bound by

its own regulations.” Panhandle E. Pipe Line Co. v. FERC, 613 F.2d 1120, 1135 (D.C. Cir. 1979).

After all, regulations validly promulgated by “notice-and-comment” bind with the “force and

effect of law.” Perez v. Mortg. Bankers Ass’n, 575 U.S. 92, 96 (2015). Absent clear and

convincing evidence that Congress intended to preclude judicial review of agency determinations

of whether a service is “not essential for the delivery of maintenance dialysis” under 42 C.F.R.

§ 413.171(5), therefore, such determinations are outside the scope of § 1395rr(b)(14)(G).         See

Amgen Inc., 357 F.3d at 111; see AHA, 967 F.3d at 825.

       Defendants have not and cannot point to any such clear and convincing evidence. 42

C.F.R. § 413.171(5) is a regulatory tool whereby CMS identifies services that might otherwise

qualify as renal dialysis services, and removes them from the scope of the ESRD prospective

payment system because they are “not essential for the delivery of maintenance dialysis.” 42

C.F.R. § 413.171(5). There is no indication that Congress intended to preclude review of that

regulatory inquiry of CMS’s own creation, which CMS developed well after Congress enacted

§ 1395rr(b)(14)(G). While Congress limited judicial review of the agency’s identification of




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services as qualifying within one of the categories of “renal dialysis services” set forth in

1395rr(b)(14)(B), the inquiry envisioned by 42 C.F.R. 413.171(5) is distinct—a process by which

services that might otherwise meet Congress’s definition are nonetheless excluded from the

definition of “renal dialysis services” by CMS.

       Here, the statute does not evidence Congress’s intent to preclude the Court’s jurisdiction

over a challenge that CMS has failed to comply with its own regulations, much less the needed

“clear and convincing” evidence the statute’s intent is “absolute.” Amgen, 357 F.3d at 111. Nor

would such evidence be likely given that MIPPA predated CMS’s enactment of the regulatory

inquiry set forth in 42 C.F.R. § 413.171(5).

       This case also underscores the need for review of such determinations. CMS’s regulation

is clear: Drugs that are not “essential for the delivery of maintenance dialysis” are excluded from

the regulatory definition of renal dialysis services. 42 C.F.R. § 413.171(5). “‘Essential’ means

‘[a]bsolutely necessary’ or ‘indispensably requisite.’” Grange Mut. Cas. Co. v. Woodward, 861

F.3d 1224, 1232 (11th Cir. 2017) (citing Essential, Oxford English Dictionary). But XPHOZAH

is not even indicated for use during the delivery of maintenance dialysis. See Dkt. 14-1,

XPHOZAH Label. Rather, patients are directed not to take XPHOZAH prior to the delivery of

maintenance dialysis. Id.; Dkt. 1 ¶¶ 41-43, 158-68; Dkt. 14 at 35-36; Dkt. 14-3 ¶¶ 37-38. Nor is

XPHOZAH even administered in a dialysis unit. But see 75 Fed. Reg at 49,047 (categorizing

drugs “utilized . . . in a dialysis unit (and therefore would be a renal dialysis service)”) (emphasis

added). And even among the subset of dialysis patients who have hyperphosphatemia, XPHOZAH

is only approved as a second-line treatment for reduction of serum phosphorus in those whose

condition is not sufficiently managed by, or who are intolerant of, phosphate binders. Dkt. 14-1,




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XPHOZAH Label at 1. To say that XPHOZAH is “essential for the delivery of maintenance

dialysis” would deprive those words of any meaning.

       In challenging CMS’s compliance with its own regulatory tool for removing services from

the scope of “renal dialysis services,” Plaintiffs challenge a procedure that was neither envisioned

by nor precluded by MIPPA. This Court thus also retains jurisdiction to review Defendants’

determination that XPHOZAH is not a renal dialysis service.

                                         CONCLUSION

       For these reasons, Defendants’ Motion to Dismiss should be denied.

 Dated: October 4, 2024                            Respectfully submitted,

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